                            UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TENNESSEE

   BLOUNT PRIDE, INC., a 501(c)3                 )
   nonprofit organization, and                   )
   MATTHEW LOVEGOOD,                             )
                                                 )
                          Plaintiffs,            )
   v.                                            )         Civil No. 3:23-cv-00316-JRG-JEM
                                                 )
   RYAN K. DESMOND, in his                       )
   individual and official capacity as           )
   the District Attorney General of              )
   Blount County, Tennessee;                     )
   JAMES BERRONG, in his official                )
   capacity as Blount County Sheriff;            )
   TONY CRISP, in his official                   )
   capacity as Alcoa Police Chief;               )
   and JONATHAN SKRMETTI, in                     )
   his official capacity as Attorney             )
   General of Tennessee,                         )
                                                 )
                          Defendants.            )



                 DECLARATION OF J. MATTHEW RICE IN SUPPORT OF
           DISTRICT ATTORNEY RYAN DESMOND’S RESPONSE IN OPPOSITION
           TO PLAINTIFF’S MOTION FOR A TEMPORARY RESTRAINING ORDER


           I, J. Matthew Rice, declare as follows pursuant to 28 U.S.C. § 1746:

           1.     I am an adult over eighteen years of age. I am an attorney with the Office of the

  Tennessee Attorney General, counsel of record for Defendant Ryan K. Desmond in his official

  capacity as District Attorney General of the Fifth Judicial District in the above-captioned actions.

  I am duly licensed to practice law in the State of Tennessee, and am admitted to the bar of this

  Court.




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         2.       I submit this declaration in support of for Defendant Ryan K. Desmond in his

  official capacity, based on my own personal knowledge and if called to testify as to the truth of

  the matters herein, I could and would competently testify.

         3.       Attached as Exhibit 1 is a true and correct copy of the transcript of the legislative

  hearings for the Adult Entertainment Act transcribed for and previously filed in Friends of

  Georges, Inc. v. Mulroy, No. 2:23-cv-2163 (W.D. Tenn. Apr. 14, 2023), ECF No. 35-1

         4.       Attached as Exhibit 2 is a true and correct copy of Public Chapter No. 2 § 3, 113th

  General Assembly (2023), which enacted the Adult Entertainment Act.

         5.       Attached as Exhibit 3 is a true and correct copy of 1990 Tenn. Pub. Acts 938, ch.

  1092, §§ 1-3.

         6.       Attached as Exhibit 4 is a true and correct copy of 1987 Tenn. Pub. Acts 841, ch.

  432, § 2.

         7.       Attached as Exhibit 5 is a true and correct copy of a Facebook entry on the

  Facebook page for Blount Pride, dated February 10, 2023.              This webpage is available at

  https://www.facebook.com/blountpride/ and was visited on August 30, 2023.

         8.       Attached as Exhibit 6 is a true and correct copy of a Facebook entry on the

  Facebook page for Blount Pride, dated June 11, 2023.               This webpage is available at

  https://www.facebook.com/blountpride/ and was visited on August 30, 2023.

         9.       Attached as Exhibit 7 is a true and correct copy of a New York Times article by

  Emily Cochrane, titled Judge Finds Tennessee Law Aimed at Restricting Drag Shows

  Unconstitutional,    and    dated    June    3,    2023.       This     article   is   available   at

  https://www.nytimes.com/2023/06/03/us/politics/tennessee-drag-ruling.html and was visited on

  August 30, 2023.




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                                     s/ J. Matthew Rice
                                     J. MATTHEW RICE (BPR #040032)
                                     Associate Solicitor General &
                                     Special Assistant to the Solicitor General

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